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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    NORTHERN DIVISION

RICHARD J. HILL,
                                                   U.S. District Judge:
        Plaintiff,                                  Hon. Hala Y. Jarbou

v                                                  U.S. Magistrate Judge:
JUSTIN WONCH,                                       Maarten Vermaat

        Defendant.                                 Case No: 2:19-cv-159
                                               /
Phillip B. Toutant (P72992)                        M. Sean Fosmire (P31737)
Karl P. Numinen (P46074)                           Thomas R. Shimmel (P41280)
NUMINEN DEFORGE & TOUTANT, P.C.                    KITCH DRUTCHAS WAGNER
Attorneys for Plaintiff                             VALITUTTI & SHERBROOK
105 Meeske Avenue                                  Attorneys for Defendants
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(906) 226-2580                                     Marquette, MI 49855-3199
                                                   (906) 228-0001
                                               /

                     DEFENDANT’S OBJECTION TO FINAL PRETRIAL ORDER


        Defendant Justin Wonch through his attorneys, Kitch Drutchas Wagner Valitutti &

Sherbrook, objects to the Final Pretrial Order (ECF 117, PageID.825) at p. 4 (PageID.828) in one

respect.

        The Defendant included the following objection at the noted place in his draft of the

proposed Joint Final Pretrial Order. As the court and the attorneys were informally discussing

what should go into the final Joint Pretrial Order, the court administrator asked whether a block

of objections at page 4 could be removed. Defendant concurred as to most but noted that this

one had not been addressed by the parties and the Court at the July 5 conference, with the

intention that it be preserved. See screenshot, below. It was removed from the final PTO,

without our agreement. Defendant needs to preserve the objection.




MAR01:85299.1
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        “As to plaintiff’s item 6, defendant will object to any items for which it has
        not been established that the charges were reasonable and necessary. See
        Herter v Detroit, 245 Mich 425; 222 NW 774 (1929).”




                                                      Respectfully submitted,

                                                      KITCH DRUTCHAS WAGNER
                                                      VALITUTTI & SHERBROOK


Dated: July 7, 2022                                   By:      /s/ M. Sean Fosmire
                                                            M. Sean Fosmire




MAR01:85299.1
